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     WAWD – Praecipe (Revised 3/2021)



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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7

 8
 9      UNITED STATES of AMERICA,
10

11                                 Plaintiff(s),              CASE NO. CR19-117 JLR
                v.
12                                                            PRAECIPE
        SHAWNA REID,
13

14                                 Defendant(s).
15

16          To the Clerk of the above-entitled court:
            You will please:
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18
19
        Issue five (5) trial subpoenas in blank.
20

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23      5/17/2021                       s/ Michael Nance, WSBA #13933
           Dated                                  Sign or use an “s/” and your name
24

25
                                        Michael Nance, Attorney at Law, P.O. Box 11276, Bainbridge Island, W

                                                   Name, Address, and Phone number of Counsel or Pro Se



     PRAECIPE - 1
